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 1                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF PUERTO RICO
 2
 3        UNITED STATES OF AMERICA,
 4
          Plaintiff,
 5
          v.
 6                                                                  CRIMINAL 07-330 (ADC)
 7        [1] ANTHONY MARRERO-DIAZ

 8        Defendant.
 9
10                       MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
                             RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
11
12   I.         Procedural Background
13              On August 9, 2007, a grand jury returned a two-count indictment against [1] Anthony Marrero-
14   Díaz (hereinafter referred to as “defendant”) and [2] Ada E. Meléndez-Quiles. Docket 18. On October
15   4, 2007, defendant filed a motion for change of plea. Docket 32.
16              The defendant has agreed to plead guilty to counts one and two of the indictment. Count one
17   charges that from on or about June 17, 2007, and continuing thereafter until on or about July 26, 2007,
18   in the District of Puerto Rico, and elsewhere, and within the jurisdiction of this Court, [1] Anthony
19   Marrero-Díaz and [2] Ada E. Meléndez-Quiles did knowingly and intentionally combine, conspire,
20   confederate, and agree with each other, and with persons known and unknown to the Grand Jury, to
21   commit an offense against the Unites States, or any agency thereof, that is, to take and carry away with
22   the intent to steal or purloin money of a value exceeding $1,000.00, belonging to, or in care, custody,
23   control, management or possession of Banco Popular de Puerto Rico, a bank whose deposits were then
24   insured by the Federal Deposit Insurance Corporation (FDIC), in violation of Title 18, United States
25   Code, Section 2113(b), and two or more of such persons did acts to effect the object of the conspiracy,
26   all in violation of Title 18, United States Code, Section 371 and 2113(b).
27              Count two charges that on or about June 17, 2007, and continuing thereafter until on or about
28   July 26, 2007, in the District of Puerto Rico, and elsewhere, and within the jurisdiction of this Court,
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 2   [1] Anthony Marrero-Díaz, and [2] Ada E. Meléndez-Quiles, aiding and abetting each other, did
 3   knowingly and willfully, attempt to take and carry away, by force and violence, money of a value
 4   exceeding $1,000.00, belonging to, or in care, custody, control, management or possession of Banco
 5   Popular de Puerto Rico, a bank whose deposits were then insured by the Federal Deposit Insurance
 6   Corporation (FDIC), all in violation of Title 18,United States Code, Section 2113(b) and 2.
 7   II.      Consent to Proceed Before a Magistrate Judge
 8            On November 5, 2007, while assisted by Assistant Federal Public Defender Max Pérez Bouret,
 9   the defendant, by consent, appeared before the undersigned in order to change his previous not guilty
10   plea to a plea of guilty as to counts one and two of the indictment.
11            In open court the defendant was questioned as to the purpose of the hearing being held and was
12   advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries were to be conducted
13   under oath and that it was expected that his answers would be truthful; (c) the potential consequences
14   of lying under oath (such as a perjury charge); and (d) his right to have the change of plea proceedings
15   presided by a district judge instead of a magistrate judge. The defendant was also explained the
16   differences between the appointment and functions of the two. The defendant consented to proceed
17   before the undersigned magistrate judge.
18   III.     Proceedings Under Rule 11, Federal Rules of Criminal Procedure
19            A.     Rule 11(c)(1) Requirements
20                    Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of
              guilty pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of
21            guilty to constitute a valid waiver of the defendant’s right to trial, guilty pleas must be
              knowing and voluntary: “Rule 11 was intended to ensure that a defendant who pleads
22            guilty does so with an ‘understanding of the nature of the charge and consequences of
              his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting
23            McCarthy v. United States, 394 U.S. 459, 467 (1969)). [There are three core concerns
              in these proceedings]: 1) absence of coercion; 2) understanding of the charges; and 3)
24            knowledge of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
              F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st Cir. 1991)).
25
     United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
26
              In response to further questioning, defendant was explained, and he understood, that if convicted
27
     on count one he will face the following maximum penalties: a term of imprisonment of not more than
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 2   five (5) years, a fine not to exceed two thousand fifty hundred dollars ($250,000.00), and a term of
 3   supervised release of not more than three (3) years. The defendant was also explained, and he
 4   understood, that if convicted on count two, he will face the same maximum penalties as in count one,
 5   with the exception that maximum term of imprisonment is ten (10) years. Defendant was also made
 6   aware that the court must impose a mandatory penalty assessment of one hundred dollars ($100) per
 7   offense pursuant Title 18, United States Code, Section 3013(a).
 8            The defendant was advised that the ultimate sentence was a matter solely for the court to decide
 9   in its discretion and that, even if the maximum imprisonment term and fine were to be imposed upon
10   him, he later could not withdraw his guilty plea for that reason alone. The defendant understood this.
11            The defendant acknowledged that at this stage no guarantees or promises as to the sentence to
12   be imposed had been made to him. The defendant was also explained what the supervised release term
13   means and was urged to cooperate with the United States Probation Office.
14            B. Admonishment of Constitutional Rights
15            To assure defendant’s understanding and awareness of his rights, defendant was advised of his
16   right:
17            1.   To remain silent at trial and be presumed innocent, since it is the government who has the
18   burden of proving him guilt beyond a reasonable doubt.
19            2.   To testify or not to testify at trial, and that no adverse inference could be made in relation
20   to his decision not to testify.
21            3.   To a speedy trial before a district judge and a jury, at which he would be entitled to see and
22   cross examine the government witnesses, present evidence on his behalf, and challenge the
23   government’s evidence.
24            4.   To have a unanimous verdict rendered by a jury of twelve persons which would have to be
25 convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence.
26            5.   To use the subpoena power of the court to compel the attendance of witnesses.
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 1                                                      4
 2          Upon listening to the defendant’s responses, observing his demeanor and his speaking with his
 3 attorney, that to the best of counsel’s belief defendant had fully understood his rights, it is determined
 4 that defendant is aware of his constitutional rights.
 5          C. Consequences of Pleading Guilty
 6          Upon advising defendant of his constitutional rights, he was further advised of the consequences
 7 of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon having his
 8 guilty plea accepted by the court, he will be giving up the above rights and will be convicted solely on
 9 his statement that he is guilty.
10          Furthermore, the defendant was admonished of the fact that by pleading guilty he would not be
11 allowed later on to withdraw his plea because he eventually might disagree with the sentence imposed,
12 and that if he violates the conditions of supervised release, that privilege could be revoked and he could
13 be required to serve an additional term of imprisonment. He was also explained that parole has been
14 abolished.
15          D. Plea Agreement
16          The parties have entered into a written plea agreement that, upon being signed by the
17 government, defense attorney and defendant, was filed and made part of the record. Defendant was
18 clearly warned and recognized having understood that:
19          1.   The plea agreement is not binding upon the sentencing court.
20          2.   The plea agreement is an agreement between the defendant, defense counsel and the attorney
21 for the government which is presented as a recommendation to the court in regards to the applicable
22 sentencing adjustments and guidelines, which are advisory.
23          3.   The agreement provides a sentencing recommendation and/or anticipated sentencing
24 guideline computation, that can be either accepted or rejected by the sentencing court.
25          4.   In spite of the plea agreement and any sentencing recommendation contained therein, the
26 sentencing court retains full discretion to reject such plea agreement and impose any sentence up to the
27 maximum possible penalty prescribed by statute.
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 1                                                      5
 2          Defendant acknowledged having understood this explanation.
 3          E. Government's Evidence (Basis in Fact)
 4          The government presented a proffer of its evidence consonant with the version of facts of the plea
 5 agreement with which the defendant concurred. Accordingly, it is determined that there is a basis in fact
 6 and evidence to establish all the elements of the offense charged.
 7          F. Voluntariness
 8          The defendant accepted that no threats had been made to induce him to plead guilty and that he
 9 did not feel pressured to plead guilty. He came to the hearing for the purpose of pleading guilty and
10 listened attentively as the prosecutor outlined the facts which would have been proven had the case
11 proceeded to trial.
12   IV.    Conclusion
13          The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of
14 Criminal Procedure, and has entered a plea of guilty as to counts one and two of the indictment. After
15 cautioning and examining the defendant under oath and in open court, concerning each of the subject
16 matters mentioned in Rule 11, as described in the preceding sections, I find that defendant [1] Anthony
17 Marrero_Díaz is competent to enter this guilty plea, is aware of the nature of the offense charged and
18 the maximum statutory penalties that the same carries, understands that the charge is supported by the
19 government’s evidence, has admitted to every element of the offense charged, and has done so in an
20 intelligent and voluntary manner with full knowledge of the consequences of his guilty plea. Therefore,
21 I recommend that the court accept the guilty plea of the defendant and that the defendant be adjudged
22 guilty as to counts one and two of the indictment.
23          This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B) and Rule 72(d)
24 of the Local Rules of Court. Any objections to the same must be specific and must be filed with the
25 Clerk of Court within ten (10) days of its receipt. Rule 72(d), Local Rules of Court; Fed. R. Civ. P.
26 72(b). Failure to timely file specific objections to the report and recommendation is a waiver of the
27 right to review by the district court. United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
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 1                                              6
 2     SO RECOMMENDED.
 3     At San Juan, Puerto Rico, this 5th day of November, 2007.
 4
                                           s/Marcos E. López
 5                                         MARCOS E. LÓPEZ
                                           UNITED STATES MAGISTRATE JUDGE
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